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17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21         Plaintiff, Counter-defendant              APPLE INC.’S STATEMENT IN SUPPORT
22    v.                                             OF ADMINISTRATIVE MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Yvonne Gonzalez Rogers

24         Defendant, Counterclaimant
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1    Local Rule 79-5......................................................................................................................................... 1

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     APPLE INC.’S STATEMENT ISO MOTION TO SEAL                                  iii                     CASE NO. 4:20-CV-05640-YGR-TSH
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1            Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

2    submits this statement in support of Epic Games, Inc.’s Administrative Motion to Consider Whether

3    Another Party’s Material Should Be Sealed Pursuant to Civil Local Rule 79-5 (Dkt. 1366) (“Epic’s

4    Motion”). Apple respectfully requests that the Court partially seal Plaintiff’s Opposition to Apple Inc.’s

5    Motion to Strike Testimony (Dkt. 1365) (“Epic’s Opposition”) because it contains information sealable

6    under controlling law and Local Rule 79-5. Specifically, Epic’s Opposition contains testimony that

7    Apple has moved to strike on the basis of attorney-client privilege and should be sealed pending

8    resolution of Apple’s Motion to Strike (Dkt. 1328).

9           Apple accordingly moves to seal portions of Epic’s Opposition containing sealable information.

10   Apple’s proposed redactions of Epic’s Opposition are indicated in the redacted version filed as Exhibit

11   A with this statement and itemized in the concurrently filed Declaration of Mark A. Perry (the “Perry

12   Declaration”).

13                                            LEGAL STANDARD

14          The Court has “broad latitude” “to prevent disclosure of materials for many types of
15   information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002). “Courts have
16   accepted attorney-client privilege and the work-product doctrine as sufficient justifications for sealing,
17   even under the higher ‘compelling reason’ standard.” In re Anthem, Inc. Data Breach Litig., 2018 WL
18   3067783, at *3 (N.D. Cal. Mar. 16, 2018); see also Guidiville Rancheria of Cal. v. United States, 2013
19   WL 6571945, at *9 (N.D. Cal. Dec. 13, 2013) (“The document is covered by the attorney–client
20   privilege, which establishes compelling reasons for sealing it from the public record.”).
21          To seal information appended to non-dispositive motions, the movant must establish “good
22   cause.” Anthem, 2018 WL 3067783, at *2. The “good cause” standard requires a “particularized
23   showing” that “specific prejudice or harm will result” if the pertinent information is disclosed. Phillips,
24   307 F.3d at 1210–11 (9th Cir. 2002). “Courts in this Circuit have found that there is a compelling reason
25   to seal documents protected by attorney-client privilege or the work product doctrine; thus, ‘[b]y
26   implication, attorney-client privilege and the work-product doctrine also satisfy the lower ‘good cause’
27   standard...’” Adtrader, Inc. v. Google LLC, 2020 WL 6389186, at *1 (N.D. Cal. Feb. 24, 2020) (quoting
28   Hanson v. Wells Fargo Home Mortg., Inc., 2013 WL 5674997, at *3 (W.D. Wash. Oct. 17, 2013)


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1    (collecting cases)).
2            In general, requests to seal information should be narrowly tailored “to remove from public view

3    only the material that is protected.” Ervine v. Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016);

4    Vineyard House, LLC v. Constellation Brands U.S. Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal.

5    2021) (Gonzalez Rogers, J.) (granting a motion to seal “because the request is narrowly tailored and only

6    includes confidential information”).

7                                                 DISCUSSION

8            Apple seeks to seal information that reflects certain hearing testimony Apple has moved to strike

9    from the record on the basis of attorney-client privilege (Dkt. 1328), pending the resolution of Apple’s

10   motion. See Perry Decl. ¶ 5. Privileged information, pertaining to Apple’s highly sensitive injunction

11   compliance plan, was disclosed on the first day of the resumed evidentiary hearing. Apple seeks to

12   seal statements in Epic’s Opposition that directly cite or reference portions of the hearing transcript

13   Apple has moved to strike as privileged. See Dkt. 1328, Ex. A.

14           Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns

15   non-dispositive objections related to discovery. See, e.g., Kamakana v. City and Cnty. of Honolulu,

16   447 F.3d 1172, 1179 (9th Cir. 2006) (“[T]he public has less of a need for access to court records attached

17   only to non-dispositive motions because those documents are often unrelated, or only tangentially

18   related, to the underlying cause of action.”); Lee v. Great Am. Life Ins. Co., 2023 WL 8126850, at *2

19   (C.D. Cal. Nov. 13, 2023) (“Matters concerning discovery generally are considered nondispositive of

20   the litigation” (quotation omitted)); see also In re Anthem, Inc. Data Breach Litig., 2018 WL 3067783,

21   at *2; Rembrandt Diagnostics, LP v. Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21,

22   2018); Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).

23           Apple’s sealing request meets the good cause standard here. Lamartina v. VMware, Inc., 2024

24   WL 3049450, at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple

25   operates in an intensely competitive environment, and thus has taken extensive measures to protect the

26   confidentiality of its information. See Perry Decl. ¶ 3. The attorney-client privilege and work-product
27   protection have been found sufficient to justify sealing in the context of dispositive motions—applying

28   the higher “compelling reason” standard—and thus clearly suffice here. Adtrader, Inc., 2020 WL


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1    6389186, at *1 (quoting Hanson, 2013 WL 5674997, at *3). As detailed more fully in the Motion to

2    Strike, the proposed redactions relate to the discussion of a single phrase contained in the documentary

3    evidence that has been upheld as privileged by this Court, Magistrate Judge Hixson, and the Special

4    Masters. See Dkt. 1328. Disclosure of Apple’s privileged communications, particularly in the context

5    of its injunction compliance planning, threatens significant harm to Apple. Perry Decl. ¶ 3; see DNA

6    Genotek Inc. v. Spectrum Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023) (finding good

7    cause where disclosure would “undercut” a party’s “position … in the marketplace”).

8           Apple has narrowly tailored its sealing request to include only information Apple has previously

9    moved to strike as attorney-client privileged. See Krommenhock v. Post Foods, LLC, 2020 WL 2322993,

10   at *3 (N.D. Cal. May 11, 2020) (granting motion to seal “limited” information); see also Phillips, 307

11   F.3d at 1211; Williams v. Apple Inc., 2021 WL 2476916, at *2–3 (N.D. Cal. June 17, 2021) (noting

12   Apple’s narrowed sealing requests with “tailored redactions”); Dkt. No. 643 at 3 (finding Apple’s

13   proposed redactions appropriate for an exhibit when redactions were “narrowly tailored” to “sensitive

14   and confidential information”). Apple has only partially redacted limited information in the exhibits.

15   See Perry Decl. ¶ 5.

16          For the foregoing reasons, there is good cause that warrants partially sealing Epic’s Opposition.

17                                                  CONCLUSION

18          Apple respectfully requests that the Court seal the information identified in the accompanying

19   declaration.

20

21

22   Dated: March 24, 2025                                  Respectfully submitted,

23                                                          By: /s/ Mark A. Perry
                                                            Mark A. Perry
24
                                                            WEIL, GOTSHAL & MANGES LLP
25
                                                            Attorney for Apple Inc.
26
27

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